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                                IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD HATCHETT
608 Wynnewood Road
Philadelphia, PA 19151,
                                             Plaintiff,

                      vs.                                         CIVIL ACTION NO.

EVERGREEN PROFESSIONAL
RECOVERIES, INC.
12100 NE 195th Street
Bothell, WA 98011,
                      Defendant.

                                                          COMPLAINT

I.         INTRODUCTION

           1.         This is an action for damages brought by a consumer pursuant to the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 (“FDCPA”).

           2.         The FDCPA prohibits collectors from engaging in deceptive and unfair practices

in the collection of consumer debt.

           3.         Defendant is subject to strict liability for sending collection letters which violate

the provisions of the FDCPA.

II.        JURISDICTION

           4.         Subject matter jurisdiction of this Court arises under 15 U.S.C. § 1692k,

actionable through 28 U.S.C. §§ 1331, 1337.

III.       PARTIES

           5.         Plaintiff is Richard Hatchett (“Plaintiff”or “Hatchett”), a consumer who resides

in Philadelphia, PA at the address captioned.




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        6.       Defendant, Evergreen Professional Recoveries, Inc. (“Evergreen”) is a

Washington corporation with an office for the regular transaction of business located in Bothell,

WA as captioned. Evergreen regularly transacts business in this district.

        7.       Evergreen regularly engages in the collection of consumer debts using the mails

and telephone.

        8.       Evergreen regularly attempts to collect consumer debts alleged to be due another.

        9.       Evergreen is a “debt collector”as that term is contemplated in the FDCPA, 15

U.S.C. § 1692a(6).

IV.     STATEMENT OF CLAIM

        10.      On or about April 3, 2008, Evergreen sent a collection notice to Plaintiff in

connection with a consumer account alleged due. A copy of that collection notice, front and

back, is appended hereto as Exhibit “A”(redacted for privacy per local rule).

        11.      The second side of the April 3 collection notice contains the following statement

in pertinent part:

        Information We Collect
        We collect non-public personal information about you from the following
        sources:
        ...
            • From employers and others to verify information you have given to us.

        12.      The statement that Evergreen may “collect non-public personal information”

about the consumer “From employers and others to verify information you have given to us”is

misleading and deceptive in violation of the FDCPA, 15 U.S.C. §1692e and §1692e(10).

        13.      To the extent Evergreen is writing a collection notice to the consumer at his stated

known address, there would be no reason or occasion to contact any employers and others to

attempt to locate the consumer.




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        14.     The FDCPA forbids a debt collector from discussing a consumer’s debt with any

third parties. For that reason, Evergreen may not collect non-public personal information about

the consumer from employers and others. 15 U.S.C. § 1692c(b).

        15.     The statement that Evergreen collects such information from employers and

others is misleading and deceptive. It misleads the consumer into believing that third parties,

such as his boss, co-workers, and friends may be contacted and asked to provide information

concerning the consumer, when the FDCPA specifically discourages and indeed forbids such

third party contact.

                 COUNT I - FAIR DEBT COLLECTION PRACTICES ACT

        16.     Plaintiff repeats the allegations contained above as if the same were here set forth

at length.

        17.     Defendant’s April 3, 2008 collection notice to Plaintiff violates the FDCPA by

making false, deceptive, or misleading representations or statements in connection with the

collection of consumer debt, in violation of 15 U.S.C. §§ 1692e, 1692e(5), and 1692e(10).

        WHEREFORE, Plaintiff Richard Hatchett demands judgment against Defendant

Evergreen Professional Recoveries, Inc. for:

                (a)    Damages;

                (b)    Attorney’s fees and costs;

                (c)    Such other and further relief as the Court shall deem just and proper.




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V.     DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury as to all issues so triable.



                                                       Respectfully submitted:


Date: 8/13/08                                          /s/ Andrew M. Milz (AMM8059)
                                                       THEODORE E. LORENZ
                                                       ANDREW M. MILZ
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